IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
CHARLESTON DIVISION
IN ADMIRALTY

Dhevatara Beach

Seychelles, Ltd.,

and Neil Helliwell,
Plaintiffs,

v.

Bertram Yacht, Inc.,

MarineMax, Inc., and

MarineMax East, Inc.,

Defendants.

V`./VVV\.»`./vv\_/VVVV

 

Plaintiffs’ Pretrial Brief

CIVIL ACTION: 2:09_CV_02979~RMG

COME NOW Plaintiffs and, pursuant to Local Rule 26.05, Submit the

following Pretrial Brief.

(A) The name of each attorney, district court identification number,

and the full name of each firm handling the case.

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MarineMax East, Inc.

(B) A list of any motions still pending.

No motions pending. Counsel for all parties have met and agreed
to stipulate that: (a) causes of action resolved on Summary Judgment
will not be tried by consent, (b) objections to parol evidence which
would potentially bear upon issues resolved on Summary Judgment will
not be waived if not asserted at trial, (c) quantum of any award of
attorneys' fees will be handled by post trial nmtion, if agreement
cannot be reached by counsel, and (d) quantum. of any award of
indemnity on the cross-claims will be handled by post trial motion.
Proposed language for the stipulation is being circulated and a signed
stipulation is expected before trial,

(C) A brief and concise statement of the facts upon which each claim
or defense is based.

Bertram Yacht, Inc. designed and manufactured the

subject yacht. Bertram issued a written limited warranty
on. the vessel's hull running to the first retail
purchasers, the Plaintiffs. The vessel’s hull bonding was

dangerously defective, ultimately causing her sinking and
total loss in normal seas off the coast of South Carolina.

MarinMax’s Boat Captain and Mate, who were
transporting the vessel, testified that, without colliding
with any object, the vessel hit a wave, her bow fell apart,
and she sank. They escaped in a life raft and were rescued
by a shrimp boat. The Mate took photographs from the life
raft showing green foam cubes floating in the water which
were supposed to be encapsulated in resin to bond the
vessel’S cored hull sides together. Rescuers testified
that, other than the vessel's debris, they saw no objects
floating in the water. Expert evidence shows that the hull
was inadequately supported and bonded.1

Bertram has refused to honor its written limited
warranty. Plaintiff paid $1,375,000 for the vessel, it was
provisionally insured. for $1,600,000, and she was valued

 

Expert evidence shows (a) an insufficient number and arrangement
of scantlings forward, (b) an insufficient bonding of bulkheads
and partitions to the hull sides, deck, and sole, (c) failure to
support the hull sides with transverse framing, (d) an
insufficient hull side lamination schedule, (e) excessively large
unsupported side spans, (f) failure to hold back foam core 3”
from sheer and 6” from chine, (g) failure to trim foam core edges
with 45 degree bevel, (h) excessively large voids along the foam
core edges, (i) failure to bed foam core in bonding putty, (j)
failure to fill gaps between the core, (k) failure to inspect for
open grooves, 45 degree edges, and filling of gaps, as required,
(l) failure to use bonding putty to secure the core to the outer
laminate skin, and (m) insufficient sanding and solvent wiping of
laminates.

just prior to the sale for $2,100,000. Over $61,000 of
equipment was lost. Plaintiffs paid $45,000 to resolve
non-cancelable ocean freight Charges. As a result of the
sinking, Plaintiff incurred over $119,000 in environmental
cleanup costs. The Magnuson-Moss Act provides for
attorneys' fees for Bertram's breach of its written limited
warranty.

MarineMax, Inc. and MarineMax East, Inc.
(“collectively' “MarineMax”) contracted to sell the vessel
to Plaintiffs. During negotiations, MarineMax represented
in writing via e-mail that the subject vessel was, “like
new,” “not used. or abused” and. “well maintained.”
MarineMaX failed to disclose that (l) during an inspection,
the vessel’s bulkhead to hullside tabbing was pulling away
fron\ her bulkheads in numerous places; (2) the vessel’s
keel crushed. in about half-an-inch along her bow due to
lack of structural support when she was lowered Onto
blocks, something MarineMax’s travel-lift operator had
never seen in his twenty-seven years at the boatyard; (3)
while the vessel was drydocked, a MarineMax fiberglass
technician heard the vessel crack “throughout the day” and
saw a stress crack appear before his eyes, something he had
never seen in his thirty-seven years of fiberglass repair
work; (4) a survey of the vessel was conducted (but not
disclosed to Plaintiffs) revealing 185 deficient items; (5)
Bertram had refused to repurchase the vessel from MarinMax
due to her condition; (6) MarineMax switched the oil in the

vessel just before Plaintiffs’ oil test. The record
indicates that MarineMax made partial cosmetic but not
complete structural repairs. Under the circumstances

MarineMax engaged in a cover up, making' material latent
defects undiscoverable using normal inspection procedures.
Although Plaintiffs conducted a sea trial, marine survey,
and engine oil analysis they were unable to discover the
latent defects. By giving half-truths and failing to
disclose serious potential defects not readily discoverable
through reasonable diligence, MarineMax breached its duty
of good faith and fair dealing. Plaintiffs seek rescission
of the sales contract, or, in the alternative, actual and
consequential damages.

(D) Additional legal authorities upon which each claim or defense is

based not listed in the Fed. R. Civ. P. 26(f) report to the Court. See
Local Civil Rule 26.03(A)(4).

Following this Court’s Order issued January 3, 2012 (Docket Etnry

# 97), Plaintiffs' remaining claims are:2

1. Bertram's Breach of its Written Limited Warranty.

a. Although Plaintiffs were not in privity with
Bertram, they are entitled to make a claim against
a manufacturer's limited warranty. Shuldman v.
DalmerChrysler Copr., 768 N.Y.Zd 214, 216 (N.Y.
App. Div. 2003).

b. For this claim, Plaintiffs seek actual damages,
consequential damages, pre-judgment interest, post-
judgment interest. Plaintiffs further seek
attorney’s fees, costs and expenses under the
Magnuson-Moss Warranty Act. 15 U.S.C. § 2310(d).

2. Strict Liability against Bertram,

a. For this claim, Plaintiffs seek consequential
damages other than loss of the vessel itself:
$119,000 for environmental clean-up costs, $61,000
for lost equipment, and $45,000 for non-cancelable
ocean freight charges.

3. MarineMax's Breach of its Duty of Good Faith and Fair

Dealing.

a. Plaintiffs incorporate herein the legal authority
cited by this Court’s Order issued January 3, 2012
regarding this cause of action (Docket Entry #97,
pp- 6-7).3

b. For this claim, Plaintiffs seek rescission of the
purchase agreement, or, in the alternative, actual

 

Plaintiffs briefed the legal issues regarding their dismissed claims in
their Memoranda in Opposition to Bertram and MarineMax’s Motions for
Partial Summary Judgment. (Docket Entries 93 and 94) .

Every contract has an implied covenant of good faith and fair dealing.
C_ross v. Cross Properties, Inc. v. Everett Allied Co., 886 F.Zd 497,
502 (2d Cir. 1989); Restatement (Second) Contracts § 205. Good faith
includes honesty in fact and the observance of reasonable commercial
standards of fair dealing in the trade. N.Y. U.C.C. Law § 2-
103(1) (b) (McKinney 2011). Among the limited circumstances in which a
seller has a duty to disclose relevant information in a business
transaction are situations where the seller has made “a partial or
ambiguous statement” that is essentially a half truth or where the
seller possesses superior knowledge not readily available to the buyer
with reasonable diligence. Bass v. American Film Technologies, Inc.,
987 F.Zd 142, 150 (2d. Cir. 1993). The Restatement Second of Contracts
recognizes the duty to disclose where a buyer is led into a bargain by
his ignorance that is essentially “a trap” in which “he would never
dream of entering” if he knew the information known by the seller. §
551(d).

and, consequential damages, pre-judgment interest,
and post-judgment interest,
4. Strict Liability against MarineMax

a. For this claim, Plaintiffs seek consequential
damages other than loss of the vessel itself:
$119,000 for environmental clean-up costs, $61,000
for lost equipment, and $45,000 for non-cancelable
ocean freight charges.

(E) Any unusual questions of law concerning admission of evidence or
procedure likely to arise in the trial of the case.

None. The proposed stipulations should eliminate the need for
constant objections by Counsel for MarineMax pertaining to issues and
claims disposed of by Summary Judgment and pertaining to the parol
evidence rule and its bearing on those issues disposed of by Summary
Judgment.

(F) Whether the possibility of a compromise settlement has been
discussed and explored with opposing counsel, State specifically
whether an offer has been made and the position of each party as to
settlement; if no attempt to settle has been made, state the reasons.
If nonjury, counsel should not disclose settlement negotiations.

The mediation conference was unsuccessful. Settlement discussions
have continued, but have been unsuccessful.

(G) The names of the witnesses expected to be called and a summary of
their anticipated. testimony. Whether the exclusion of a witness or
witnesses is requested pursuant to Federal Rule of Evidence 615. If no
request is made herein, it shall be deemed waived.

 

Vessel's Sinking

Jason Milius (live or by deposition).4

Mr. Milius was MarineMax's delivery captain who was
delivering the vessel when she sank in normal seas off the
coast of South Carolina. He is expected to testify that,
without colliding with any object, the vessel hit a wave,
her bow fell apart, and she sank. Mr. Milius and the mate,

 

(Jason Milius Depo. 05:15 - 05:25, 06205 - 20:03, 23:04 ~ 32:19, 33:Ol
- 42:05, 45:06 - 49:02, 49:11 - 52:24, 54:12 - 55:08, 57:05 - 58:06,
62:21 - 65205, 68:10 - 83:08, 85:12 - 90:23, 107203 - 116:13, 116:25 -
118213, 118:23 - 123:14, 123:21 - 143:25, 144:07 - 161:03, 161:18 -
164:19, 166:08 - 183:11, 183:16 - 197:08, 198:10 - 201:05, 201:20 -
22:23, 224:23 - 228:25, 232:11 - 233:20, 235:13 - 237:07, 239:14 -
250:20, 253:12 - 259:08, 261:12 - 264:02, 289:23 - 296:04, 304:24 -
305:14, 307:01-308:08).

Jamie Castatine, escaped on a life raft and were rescued by
a shrimp boat. Plaintiffs have made arrangements to bring
Capt. Milius to trial.

Jamie Castantine (live or by deposition).5
Ms. Castantine was the mate aboard the vessel when she
sank. She is expected to testify that the vessel sank in
normal seas without colliding with any object. She
testified to the authenticity of the photographs she took
from the life raft as the vessel sank. Plaintiffs have made
arrangements to bring Ms. Castantine to trial.

Craig Hancock (By Deposition)6
Mr. Hancock was the Captain of the shrimp boat which
rescued Captain Milius and Ms. Castantine when the subject
vessel sank. He testified that, other than the debris from
the vessel, he saw no objects floating in the water.
(27:17 - 27:22).

Joshua White (By Deposition)7
Mr. White was a crewmember aboard. the shrimp boat which
rescued Captain Milius and Ms. Castantine when the subject

vessel sank. He testified that he saw no large objects,
partially submerged objects, container units, big logs, or
anything of that nature floating in the water. (26:01 -
26211).

Survey of Vessel’s Wreck

 

Neil Haynes. (To Testify in Person)
Mr. Haynes is a professional vessel surveyor who is
expected to testify regarding diving on the vessel’s wreck
and its condition.

MarineMax’s Knowledge of Vessel Defects

William Ehlers (By Deposition)F Mr. Elhers was Supervisor of
lnboard Boats at MarineMax. His deposition testimony will

 

(Jamie Castantine Depo. 05:16 - 06:03, 06:06 - 11:24, 12:12 - 17:03,
23:04 - 23:22, 27:21 - 33:19, 34:08 - 39:23, 40:13 - 53203, 55:22 -
58:06).

(Craig Hancock Depo. 04:22 - 12:17, 13:12 - 16:23, 19:11 - 20:10, 21:10
- 21:16, 25:15 - 27:22, 28:08 - 28:16).

(Joshua White Depo. Designations: 04:13 - 05:09, 06:02 - 06:22, 07:18 -
12:24, 14:12 - 21:08, 23:16 - 24:14, 26:01 ~ 26111)

be offered to show that MarineMax knew that the vessel’s
fiberglass tabbing was pulling away from its bulkheads.
(62:18 - 62:24);(62:18 - 62:22).

William Hacker (By Deposition).9 Mr. Hacker was a MarineMax

Joseph Dupuy (By Deposition).

Thomas Bamundo (By Deposition

boatyard employee. He and Mr. Dupuy gave deposition
testimony that, when the subject vessel was lowered onto
blocks at the MarineMax boatyard, the blocks caused an
indentation of about half-an-inch into the hull of the
vessel about eight inches long, something Mr. Hacker had
never seen in his twenty-seven years of work at the
boatyard (27:19 - 28:02). He reported this incident, and
someone from the front office inspected the damage (26:04 -
26:16) and took photos.

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Mr. Dupuy was a MarineMax boatyard employee. He and Mr.
Hacker gave deposition testimony that when the subject
vessel was lowered onto blocks at the MarineMax boatyard,
the blocks caused an indentation of about half-an-inch into
the hull of the vessel (26:09 - 26:24), something he had
never seen happen with another boat (28:18 - 28:22). The
only option to support the vessel was to move the blocks to
a different location on the keel (28:12 - 28:17).

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Mr. Bamundo was a MarineMax fiberglass technician. He gave
deposition testimony that, although he did not recall which
boat, a big boat had a dip in the hull, that Mr. Hacker and

Mr. Dupuy would know best which boat it was, and that the
dip was not repaired by MarinMax. (23:08 - 24:05).

John Livoti (By Deposition).12

 

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(Willianl Ehlers Depo. 04:06 - 04:13, 05215 - 23:19, 34:14 - 35:10,

37215

- 38:04, 45:24 - 46:21, 61:20 - 65:24, 66:17 ~ 67:09, 68:15 -

69:06, 69:25 - 72:22, 73205 ~ 73:21).

(William. Hacker Depo. 04206 - 04:13, 07:20 - 09:03, 09:19 - lO:l3,
10:20 ~ 12:19, 13:04 _ 15:08, 17:06 ~ 19:02, 21:18 - 24:13, 24:21 -
28:17, 40:07 ~ 40:19).

(Joseph Dupuy Depo. 04:06 - 04:13, 05:17 - 17:12, 17:22 ~ 29:02, 29:15
- 32:10, 42:03 - 43:03, 44:12 ~ 47:20, 48:15 ~ 49:21).

(Thomas Bamundo Depo. 04:07 - 09:24, 23:08 - 24:05).

(John
13:19,

Livoti Depo. 04:05 - 04:12, 04:15 ~ 07:25, 08:05 ~ 12:12, 12:23 ~
13:24 - 14:22, 15:19 - 16:25, 19:11 - 27:02, 27:11 ~ 29:09,

Mr. Livoti was a Quality Control lnspector for MarineMax.
He gave deposition testimony that he saw a persistent
trickle of water in the bilge of the 'vessel coming from
forward, and that MarineMax drilled small holes in the
subject vessel exploring for water which was thought to be
in the bilge of the boat. (11:10 - 12:09). He saw
approximately a dozen holes drilled. (13:03 - 13:06).

Stephan DeTurris (By Deposition).13
Stephen DeTurris was a fiberglass technician for MarineMax.
He testified that he saw a stress crack develop on the
subject vessel before his eyes, something he had never seen
happen in his thirty-seven years of working at the
boatyard, (13:08 - 13:20).

Vessel’s Design

Richard Lamarre (By Deposition)14

Mr. Lamarre is Bertram's engineering director. Bertram
designated him as its 30(b)(6) witness to testify about the
design of the vessel. He has an associate degree in

architecture and an undergraduate degree in engineering. He
took, but did not complete, a correspondence course in
naval architecture through Westlawn. He does not have a
naval architecture degree or certificate. (12:9-11). Mr.
Lamarre was unable to identify any documents which
specified how the bulkheads on the subject vessel were
supposed to be attached to the sides (38:10 -38:19, 107:22
- 111:15). He was not aware of what calculations regarding
the vessel’s strength had been done (72:12 - 73:16) and
did not know which naval architect designed the vessel
(75:09 - 75:20). He did not know whether any “finite
element analysis” was done for the scantling structure of
the vessel. He testified that Bertram, builds to a RINA
standard to meet certain strength criteria. (42:21 -

 

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29:13 - 30:02, 3l:06 - 32:25, 34:19 - 35109, 37:0'7 - 38:24, 43:02 -
44:14, 47:23 - 48:23, 50:14 - 52:02).

(Stephan DeTurris Depo. 04:06 - 04:13, 05:02 - 05:20, 08:11 - 08:17,
09:16 - 11:17, 13:08 - 13:20, 14:09 - 16:07, 17:02 - 19:17, 21:17 -
28:18, 37:09 - 39:08, 39:15 - 41:10, 51:16 ~ 55:06).

(Richard Lamarre Depo. 04:02 - 04:17, 05:08 - 70:03, 72:04 -
73:16, 75:09 - 75:25, 76:10 - 78:20, 79:21 - 91:05, 95:06 -
100:04, 101:17 - 102:08, 103:21 - 110:16, 112:06 - 114:01, 116:13
- 133:08, 139:04 - 145:04, 154:19 - 165:05, 169:15 - 172:22,

174:22 ~ 176215, 181:17 - 181220, 183:02 - 185:09.

43:02), and that, in. bonding the bulkheads to the deck
structure, when wooden cleating is used, it should be used
every three inches and when aluminmn cleating is used, it
should be used every six inches. (46:15 - 46:20). Mr.
Lamarre testified that if blocking of the vessel is adhered
to as in the drawing Bertram_ provides, then the vessel
should not suffer a keel crush as described by MarineMax
boatyard employees. (67:08 - 67:25). Mr. Lamarre admitted
that the ABSOLUTELY was not manufactured by vacuum bagging.
Viewing photographs of samples recovered from the wreck of
the vessel (Exhibits 234, 235, and 236) he agreed that that
area of the boat was not n@nufactured as he designed it
(169:15-23) as there was no putty or resin in the kerfs of
the foam core material.

MarineMax’s Failure to Repair Structural Defects

 

Donald Flippen (By Deposition

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Mr. Flippen is an employee of Ferretti Group North America,
which has an owns Bertram, Bertram_ designated him. to
testify as its 30(b)(6) witness about warranty claims for
the subject vessel. Mr. Flippen was Director of Customer
Support for Bertram until 2010. ln that position, he
handled warranty claims for Bertram made both by dealers

and retail purchasers.

warranty claim for

Mr.

Flippen was not aware of any

the subject

vessel

by MarineMax

regarding the keel being partially crushed (80:03 -
80:06),“numerous bulkhead tabbing pulling away” as
described by William Elhers (138:20 - 139:05), a persistent

trickle of water through the

80:23), or for drilling holes in

 

bilge

the

forwards
vessel

(80:19 -
(80:24 -

81:01). Mr. Flippen testified that a keel crush as
described would be a structural, not a cosmetic issue.
(147:07 - 147:14).
Bertram's Warranty
15 <Donala Flippen Depo. 04:07 - 04=09, 06:11 ~ 07:04, 08=24 ~ 09:25,
10:15 - 10:25, 13:04 - 13:20, 16:03 - 17:03, 17:13 - 18:16, 20:21 -
22:23, 24:23 - 34:09, 35:01 - 39:08, 40:17 - 42:19, 43:11 - 52:24,
54204 - 56114, 60:16 - 60:23, 62:05 - 62:24, 67:19 - 76:01, 77:01 -
78:04, 79:16 - 81:01, 83218 - 84:18, 85:12 - 94:06, 120:25 - 122:04,

123:16 - 124218, 136:11 - 140:06,

145:18 - 148:07,

152:16 - 153:05).

James Henderson (By Deposition)16
Mr. Henderson is the Chief Marketing Officer for North
America for the Ferretti Group, which has an ownership

interest in Bertram. He had knowledge of advertising of
the Bertram product line in 2009, when Plaintiffs were
selecting a vessel to purchase. He testified in deposition

that documents labeled Bertram 1517 through 1545 were the
adds for Bertram vessels placed in publications worldwide
in 2009 (14:23 - 16:08), that most of the adds have an
indication on them of the factory warranty (17:19 - 17:25),
and that this was a feature which makes people want to buy
a Bertram (17:01 - 17:06).

Bruce Garbaghi (By Deposition)17
Mr. Garbaghi is an employee of RINA USA, Inc., which
provides a “CE” certification for Bertram yachts intended
to be sold in the European community. Mr. Garabaghi
provided copies Of the design drawings certified. by RINA
(Exhibits 153(11) and, 153(13)). These drawings differ in
material respects fronz the construction drawings provided

by Bertram (Exhibit 99). In particular, Exhibit 153(11)
requires that the vessel be manufactured. using a vacuum
bagging.

MarineMax’s Delivery of the Vessel

 

Justine Stellin (By Deposition)18
Ms. Stellin was a business manager at MarineMax. She gave
deposition testimony that the contract price for the
subject vessel was $1,375,000 and that MarineMax received
funds in that amount. (17:02 - 17:19).

Julia Ospedale (By Deposition)19

 

(James Henderson Depo. 04:02 - 04:05, 05:02 - 05:20, 09:05 - 15:24,
16:19 - 18:02, 24:09 - 26:08).

(Bruce Garabaghi Depo. 04:07 ~ 04:23, 06217 - 12:03, 18:03 - 36210,
37:12 - 39:21, 42:09 - 44:14, 47:19 - 49:06, 52:13 _ 52:25, 55:09 -
56:02, 59:06 - 60:01, 67:04 - 68:21, 69209 - 69:22, 70:25 - 72:ll,
73:08 - 77:17, 82:10 - 83:15, 87:11 - 88:08, 103:24 - 105204, 107:10 -
109:23, 121:01 - 123:15, 128:07 - 129:18, 135:04 - 135:18).

(Justin Stelline Depo. 04:06 - 04213, 06:05 - 06:21, 09:22 - 09:24,
13:23 - 17:19, 19:13 - 21:14, 22:10 - 23:06, 23:22 - 24:08, 25:15 -
26:10) .

(Julia Ospedale Depo. 04:06 - 04:14, 06:14 - 06:25, 07:11 - 09:09,
10:07 - 10:19 , 33:25 - 36:05, 36219 - 39:11, 45:20 - 47:07, 50:13 -

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Julia Opsedale was a Service Advisor for MarineMax. She
gave deposition testimony that she arranged transportation
of the subject vessel. for the voyage on_ which. it sank.

(13:17 - 13:20). She hired the boat captain for MarineMax.
(21:20 - 21:24) and. chose tun1 from 21 MarineMax certified
captain's list (22:19 - 22:24). The vessel left the

MarineMax facility in Lindenhurst, New York headed to West
Palm. Beach, Florida, but sank Off the coast of South
Carolina.

Stephen Owen (By Deposition)20
Mr. Owen is a representative of Plaintiff Dhevatara Beach
Seychelles, Ltd. He communicated with MarineMax for
Plaintiffs regarding MarineMax’s agreement to transport the
vessel. MarineMax arranged the delivery captain. (39:05 -
39:15, 47:19 - 48202). Plaintiffs paid MarineMax at least
$59,000 for equipment in addition to the purchase price.
(76:10 - 76:23).

Michael Kurnides (By Deposition)21

Mr. Kurnides testified that he is an unlicensed marine
surveyor with 13 years experience. He testified to his marine
survey of the ABSOLUTELY, including his inspection of the open
visible areas, inspection of the visible bulkhead tabbing, and
tapping of the hull below the waterline and as far above it
(approximately 18 inches) as he could reach (63:8-19).

Damages

Michael Winter (By Deposition)22
Mr. Winter was the MarineMax Northeast Marina Manager. He
testified that he assisted Mr. Helliwell by outfitting the
vessel with equipment including fishing tackle, poles,
gaffs, a fighting chair, life rafts, and an EPIRB. (37:24

 

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54:25, 57:06 - 60:08, 60216 ~ 62:25, 65:lO - 68:14, 69:11 - 70:21,
72:11 - 75:09, 129:05 - 133:20).

(Stephen Owen Depo. 04:08 - 04:10, 06:13 - 06:21, 07:12 - 08:22, 09:06
- 11:16, 13:04 - 16:12, 32:17 - 33:02, 35:03 - 36:12, 45:22 - 48:02,
54:13 - 55:24, 58:05 - 59:07, 67:19 - 69:13, 70:16 - 78:03, 90:11 -
91:13L

(Michael Kurnides Depo. 04:02 - 04:05, 05:16 - 05:23, 06:18 - 06:25,
08:22 - 09:04, lO:18 - 10:24, 12:22 ~ 16:23, 18:13 - 22:08, 24:25 -
28:20, 30:07 - 30:15, 39:02 - 43:20, 46:03 - 48:06, 54:21 - 56:24,
61:17 - 67:05).

(Michael Winter Depo. 04:06 - 04:13, 07:02 - 08:07, 21:17 - 23:22,
24214 - 27:12, 37:08 - 47204, 47:20 - 48:02, 49:04 ~ 50:07, 51:17 -
51:21, 55:05 - 55:12, 89:25 - 92:25).

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Todd Nickles (By Deposition

- 38:18). Mr. Helliwell was charged $37,776.30 for items

from Fishin’ Mission (44:14 - 44:16), $16,825 for a
fighting chair (45:23 - 46:05), and $7,551.68 for a life
raft and an EPIRB (46:13 - 46:25). These amounts total

more than $61,000.

Vessel’s Defects

Dmdemws

David Jones is a naval architect who is expected to testify
regarding the defects in the subject vessel, including: (a)
an insufficient number and arrangement of scantlings
forward, (b) an insufficient bonding of bulkheads and
partitions to the hull sides, deck, and sole, (c) failure
to support the hull sides with transverse framing, (d) an
insufficient hull side lamination schedule, (e) excessively
large unsupported side spans, (f) failure to hold back foam
core 3” from sheer and 6” from chine, (g) failure to trim
foam core edges with 45 degree bevel, (h) excessively large
voids along the foam core edges, (i) failure to bed foam
core in bonding putty, (j) failure to fill gaps between the
core, (k) failure to inspect for open grooves, 45 degree
edges, and filling of gaps, as required, (l) failure to use
bonding putty’ to secure the core to the outer laminate
skin, (m) insufficient sanding and solvent wiping of
laminates, (n) insufficient hull to deck joint, (o)
insufficient foam density, (o) improper orientation of the
3408 triaxial fabric, (p) material deviation from laminate
schedule, and. other defects in design and. manufacturing.
David Jones will testify that the ABSOLUTELY was not
manufactured in accordance with the RINA. design_ drawings
(Exhibits 153(11) and 153(13), nor was it manufactured in
accordance with the Bertram construction drawings (Exhibit
99). David Jones will testify that the deviations were
material and caused the loss of the vessel.

MarineMax's Breach of its Duty of Good Faith and Fair Dealing

)23

Mr. Nickles is a friend and business associate of Mr.
Helliwell. He inquired of MarineMax about the subject
vessel for Mr. Helliwell, received e-mails from MarineMax's
Mike Lennon, and forwarded them to Mr. Helliwell (12:03 -
12:09, 24:08 - 24:13). One e-mail stated, “2006 Bertram
630 NEW LISTING - NEVER TITLED” (08:07 - 08214). AnOther
stated, “Our 0663 is like new and it is not used or abused”
(13:12 - 13:24).

 

23

(Todd Nickles Depo. 04:10 - 05:21, 11116 - 23:14, 24:08 - 26:11, 37:19
- 38:06, 59:07 - 59:16, 84:14 - 86:01).

12

Breaches and Damages

 

Neil Helliwell
Mr. Helliwell is expected to testify to Bertram's refusal
to honor its hull warranty, MarineMax's representations
about the vessel and failure to disclose its latent defects
during and after negotiations, and the quantum of damages.

Plaintiffs also expect to cross examine the following will call
witnesses listed by Bertram:

Alton Herndon

Robert Allen, Esquire

Ken Beauregard

Rob McDougal

Robert Taylor

Pablo Longo

Rodney Thomason

Plaintiffs also expect to cross examine the following will call
witnesses listed by MarineMax:

Mike Lennon

John Danielecki

John Smith

Robert Lacovara

Robert Schofield

(H) The damages claimed should be set forth in detail, including, but
not necessarily limited to:

$2,100,000 Vessel's Fair Market Value Immediately Prior to Loss24
61,000 Lost equipment (riggings, add-ons, personal property)
119,000 Environmental Clean-Up Costs
+ 45,000 Non-cancelable Ocean Freight Charges
$2,325,000

Additional Damages

Attorneys' fees per the Magnuson-Moss Act against Bertram
Pre-Judgment Interest
Post-Judgment Interest

Plaintiff seeks a post-trial determination of these damages.

(1) Where permanent injuries are claimed, their nature must be
described with particularity, and plaintiff’s life expectancy must be

given. Attach copies of medical reports and doctors' statements where
available;

 

M The vessel’s purchase price was $1,375,000.

13

Not applicable.

(2) special damages claimed must be specified in detail. Thus, in
personal injury cases, medical, nursing, hospital, and similar
expenses should be itemized by giving the names of persons and
institutions and the amount paid to or owing each. If property damage
is claimed, state the cost of repairs and names of persons neking
them; or, if incapable of repair, the value of the property
immediately before the accident and immediately afterwards;

Immediately' prior to its sinking and total loss, the subject
vessel sold for $1,375,000 and its fair market survey valuation
was $2,100,000. Over $61,000 worth of equipment was lost in the
sinking. As a result of the sinking, Plaintiffs incurred over
$119,000 in environmental clean-up costs. Plaintiff incurred
$45,000 to resolve non-cancelable ocean. freight charges. The
Magnuson-Moss Act provides for attorneys' fees for Bertram's
breach of its written limited warranty. Plaintiffs seek pre-
judgment interest and post-judgment interest.

(3) If loss of earnings or profits is claimed, state the amount, the
manner of computation, the period for which loss is claimed, and the
name of employer, if applicable;

Not applicable.

(4) In death cases, state the age, employment, rate of earnings,
marital status, and life expectancy of deceased; also, the names,
ages, and the relationship of the dependents;

Not applicable.
(5) The defendant should specify its position concerning damages.
Not applicable to Plaintiffs.
(I) Where a contract or a writing is involved:
(l) If a written contract or a writing is involved, a copy should be
furnished to the Court, and the portions in controversy

particularized, with a statement as to the claimed construction

thereof, and performance or nonperformance thereof, or obligation in
connection therewith;

Please the following attached Exhibits:
Exhibit 98. Bertram Yacht, Inc. Limited Warranty (U.S.)
This limited warranty runs to Plaintiffs as the first retail

purchasers of the subject vessel, but Bertram has refused to honor it.

Exhibit 89. Brokerage Purchase and Sale Agreement

14

Plaintiffs seek rescission of the Brokerage Purchase and Sale
Agreement based on MarineMax's Breach of its Duty of Good Faith and
Fair Dealing by stating half-truths while failing to disclose
dangerous latent defects. This Brokerage Purchase and Sale Agreement
does not disclaim for Bertram, only for MarineMax as Seller and
Broker.

(2) If the contract is oral, its substance should be given; and where
there is a dispute concerning its terms, the controverted terms should
be specified and the same issues covered as above nentioned as to
written contracts.

Not applicable.
(J) Where the relief sought is not covered by (H) above or is in
addition thereto, state the nature of the relief sought and the
reason(s) such relief should or should not be granted.

Not applicable.
(K) Counsel's best estimate of the time required for trial,

4-5 Days.

(L) Any special matters to which the Court‘s attention is sought or
required,

Not applicable.

(M) Any reason why the case cannot be tried at the term for which it
is set for trial.

None.
(N) The final list of exhibits intended to be used in the trial of the

case with any objections noted. This list shall be served on opposing
counsel.

JOINT EXH|B|T LlST

o

Photo ABSGLUTELY on blocks in MarineMax yard

Photo ABSOLUTELY at dock before casualty

Photo ABSOLUTELY at dock before casualty

Photo transom ABSGLUTELY before casualty

Hull Diagram showing location break in deck

Photo exemplar vessel underway showing location break
Photo ABSOLUTELY before casualty

Photo ABSOLUTELY interior after casualty

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9. Photo ABSOLUTELY interior after casualty

10. Photo ABSOLUTELY life raft after casualty

11. Photo ABSOLUTELY transom after casualty

12. Photo ABSOLUTELY after casualty

13. Photo ABSOLUTELY after casualty

14. Photo ABSOLUTELY after casualty

15. Photo ABSOLUTELY after casualty

16. Photo ABSOLUTELY after casualty

17. Photo ABSOLUTELY after casualty

18. Photo bow section from wreck ABSOLUTELY

19. Photo underwater bow wreck ABSOLUTELY

20. Photo ABSOLUTELY in yard showing area of holes
21. Patton Marine Survey report 10/4/08

22. Michael Kurnides Survey report 8/25/09

23. Work Order 202044

24. Work Order 213162

25. Work Order 207262

26. Work Order History Report (20pp)

27. Acceptance of Vessel Addendum #1

28. Email 8/8/09

29. MarineMax Vendor Application Form

30. Email 10/30/09

31. Handwritten Notes (hearsay in item 6 redacted)
32. Cellphone photo ABSOLUTELY after casualty

33. WITHDRAWN

34. Email 07-28-09

35. Invoices Fishing tackle, chair, life raft EPIRB
36. Email 09-18-09

37. WITHDRAWN

38. Email 08-17-09

39. Email 09-01-09

40. Email 10-30-09

41. Email 01-27-09 (OBJECTION -- Defendants object on the

basis of hearsay and relevance; Plaintiffs assert that the
exhibit is being offered to show notice to MarineMax and
not for the truth of the matters asserted)

42. Work Order 217975

43. Mister Marine invoice $12,300.49 (3pp)
44. Job Detail (2pp)

45. Email 10-06-09

46. Email 09-16-09

47. Email 09-16-09

48. Sevenstar Yacht Transport lnsurance Questionaire (3pp)
49. Email 10-05-09

50. Email 10-05-09

51. Email 10-28-09

52. Email 11-02-09

16

53. Email 09-24-09

54. BS; MSO; Sellers Closing Stmt; Brokerage Comm
Disbursement; Brokerage Purch and Sale Agmt; Wiring lnst;
Brokerage Purch and Sale Agmt x2 (22pp)

55. Brokerage Purch and Sale Agmt signed; Seller's Closing
Stmt; Buyer's Closing Stmt; Acceptance of Vsl addendum #1;
MSO; Builders Cert; Receipt wire $1,237,805; Cert
Nonresidency NY x2; Acceptance of Vsl (15pp)

56. Wire confirmations $1,237,805 and $137,485 (7pp)

57. Email 09-16-09

58. Email 08-16-09

59. Email 08-24-09

60. Email 09-14-09

61. Email 07-22-09

62. Email 07-22-09

63. Email 06-09-09

64. Email 07-22-09

65. Email 07-31-09

66. Customer Quote 28009 (3pp)

67. Email 08-15-09

68. Email 08-17-09

69. Email 08-16-09

70. Email 08-19-09

71. Receipts Email oil samples

72. Email oil samples

73. Photo Bertram

74. Emails various dates

75. Emails various dates

76. Emails and Atlantic Detroit reports (3pp)

77. Emails various dates

78. Oil Analysis reports (2pp)

79. Email 10-05-09

80. Email 09-09-09

81, Case 63/20 Operator’s Manual (2pp)

82. Brokerage and Used Program; Brokerage Comm
Disbursement (2pp)

83. Email 06-08-09

84. Brokerage Purch and Sale Agmt (6pp)

85. Email 08-05-09

86. Brokerage Purch and Sale Agmt (6pp)

87. Email 08-12-09

88. Brokerage Purch and Sale Agmt (6pp)

89. Brokerage Purch and Sale Agmt w/ Exhibits (9pp) signed

90. Acceptance of Vessel w/o Addendums

91. List Warranty Claims

92. Warranty Claim #12

93. Warranty Claim #10

17

94. Warranty Claim #12

95. Warranty Service Claim

96. Warranty Claim #9

97. Warranty Claim

98. Bertram Yacht, lnc. Limited Warranty

99. Hull Lamination Schedule Drawing Bertram 793

100. CE Product Verification Certificate #DIP06105/XL (2pp)
101. WITHDRAWN

102. WITHDRAWN

103. MarineMax Advertising

104. EBay Advertising

105. MarineMax Yacht World Advertising

106. MarineMax Specs

107. Bertram Specs (6pp)

108. Allied Marine Specs (2pp)

109. High Seas Technology contract (4pp)

110. List of Surveyors

111. Kurnides Survey Report (16pp) (Objection; Defendants

object to opinions regarding value as unreliable and
lacking a proper foundation. No objection to remainder of

report.)

112. WITHDRAWN

113. Public Statement (OBJECTION; Defendant Bertram objects
as hearsay and including settlement discussions.)

114. Bertram Website Warranty lnformation (3 pp)

115. WITHDRAWN

116. Bertram Website lnformation (27pp)

117. Email 08-17-09

118. Email 08-16-09

119. WITHDRAWN

120. Handwritten notes

121. Email 12-06-09 (OBJECTION; Defendants object to item l
of Mr. Cooper’s email as referencing settlement and
hearsay.)

122. WITHDRAWN

123. MarineMax Work Order

124. Email 09-08-09

125. Email 08-01-09

126. Email 08-18-09

127. Email 08-19-09

128. Email 08-14-09

129. Advertisement

130. WITHDRAWN

131. WITHDRAWN

132. WITHDRAWN

133. Email 08-18-09

134. Email 09-12-09

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Email 09-15-09

Email 09-17-09

Email 09-20-09
WlTHDRAWN (Duplicate of Ex. 48)

Email 09-23-09

Email 10-02-09

Email 10-16-09

Email 10-20-09

Email 10-23-09

Email 10-26-09

Email 11-04-09

Email 11-06-09

Email 11-09-09

3 and 4 State Room Drawings with notes
Drawing fwd

Drawing fwd

Hull Number 20 File

Modules B and F

Shell Expansion and Hull Construction Drawings
Bertram Construction Drawings

Email 10-16-11

Bertram 630 Model Certificates

CE Certification for Hull 630-20
Amended Bertram 630 Model Certificate dated 3/28/06
Directive 94/25/CE

RINA Guide

WITHDRAWN

WITHDRAWN

Taylor CV

Lamination Schedule

Taylor Bertram Foam Core Density Diagram
Taylor Structural Calculations
Manufacturer Material Properties
Taylor Photos and Diagram of Hull under Construction
Taylor Strain Gauge Location Diagram
Taylor Field Testing Results

Taylor Run Sheets from Testing

Taylor Short Beam Testing

Taylor Long Beam Testing

David Jones CV
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WITHDRAWN

(for ID only)25dlSAMPE Conference

(for lD only)ZSU‘SAMPE Conference

(for lD only)23rd SAMPE Conference
Handwritten drawings by Jones
WITHDRAWN

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(OBJECTION; The Plaintiff and Defendant MarineMax reserve

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WITHDRAWN

Jones Handwritten calculations DJ&A 350-351
Jones Handwritten calculations DJ&A 385-386
Jones Handwritten calculations DJ&A 389-401
ISO 12215 calculations

Drawing DJ&A 402

WITHDRAWN

Owens Corning Product lnformation
WITHDRAWN

WlTHDRAWN

Undersea Photo bow ABSOLUTELY

Undersea Photo bow ABSOLUTELY

Haynes CV (3)

WlTHDRAWN

Jones lSO/CD 12215 calculations

Jones Handwritten RINA calculations

RINA Rules - Classification Part B Hull & Stability

the right to object based on relevance and date.)

200. WITHDRAWN

201. John Smith CV (5)

202. WITHDRAWN

203. Photo small sample foam core blocks(2)

204. Photo longer sample foam core blocks(2)

205. Undersea photo skins with foam core blocks (

206. WITHDRAWN

207. WITHDRAWN

208. WITHDRAWN

209. WITHDRAWN

210. Lacovera Photographs (11 pp)

211. Lacovara CV (13)

212. MFG Research Analysis (50)

213. WITHDRAWN

214. Schofield SCI Test

215. Schofield Calculations (3)

216. WITHDRAWN

217. Bertram drawing and Schofield notes

218. WITHDRAWN

219. Schofield Panel Diagram tension and compression

220. Schofield Panel bulkhead Diagram tension and
compression

221. WITHDRAWN

222. Taylor Shipping Container Float calculations

223. Taylor hand drawing

224. WITHDRAWN

225. Purch Order; Mister Marine invoice DBS 990-1001

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226. Jason Milius personal property DBS 909

227. Jaime Castantine personal property DBS 906

228. (for lD only) Bow stuffing video

229. (for ID only)Team Lazarra crash Demand replacement
vessel

230. WITHDRAWN

231. WITHDRAWN

232. WITHDRAWN

233. Bertram 000003 10.0326 Sample #2(2).jpg

234. Bertram 000003 10.0326 Sample #2(9).jpg

235. Bertram 000003 10.0326 Sample #2(11).jpg

236. Bertram 000003 10.0326 Sample #4(7).jpg

237. Bertram 000003 10.0326 Sample #4(1).jpg

238. Bertram 000003 10.0326 Sample #4(16).jpg

239. Swimming Tour video Bertram 000001

240. Bow video Bertram 000001

241. WITHDRAWN

242. Sample Collection video Bertram 000002

243. Wreck video 11/25/09

244. Wreck video 11/29/09

245. WITHDRAWN

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253. WITHDRAWN

254. WlTHDRAWN

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256. WlTHDRAWN

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DJ&A 348-349 (2pp)

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WlTHDRAWN

Proper Core lnstallation DJ&A
Ashland DJ&A
Sea Trial Photo DJ&A
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(lOpp)
(2pp)

319. WITHDRAWN

320. Dealership Agreement Bertram 610-640
321. lst Amend Dealership Agmt MM 35-37

322. 2nd Amend Dealership Agmt MM 38

323. 3rd Amend Dealership Agmt MM 39-40

324. MOU Expiration Dealership Agmt Bertram 590-609
325. MOU MarineMax 61
326. 08-07-08 email with MOU draft of 08-05-08 (Bertram

1852-1857) (GBJECTIGN; The Defendant MarineMax objects
based the parol evidence rule.)

327. MOU draft of 08-15-08 (Bertram 1858-1865) (OBJECTION;
The Defendant MarineMax objects based the parol evidence
rule.)

328. MOU draft of 08-27-08 (Bertram 1866-1873) (OBJECTION;
The Defendant MarineMax objects based the parol evidence
rule.)

329. 08-29-08 email with MOU draft of 08-29-08 (Bertram

1874-1883) (OBJECTION; The Defendant MarineMax objects
based the parol evidence rule.)

330. 09-03-08 email with MOU draft of 09-03-08 (Bertram
1884-1894) (OBJECTION; The Defendant MarineMax objects
based the parol evidence rule.)

331. 09-04-08 email with executed MOU draft of 09-04-08
(Bertram 1895-1916)
332. Email exchange of 11-03-08, 11-05-08 and 11-10-08

(Bertram 1314-1322) (OBJECTION; The Defendant MarineMax
objects based the parol evidence rule.)

333. Email exchange of 15-05-08 (Bertram 1340-1347)
(OBJECTION; The Defendant MarineMax objects based the parol
evidence rule.)

334. Email exchange of 1-30-09(Bertram 1432 and 1917)
(OBJECTION; The Defendant MarineMax objects based the parol
evidence rule.)

335. Quality Report of 07-28-05 (Bertram 93-95)

336. Straight Bill of Lading (Bertram 98)

337. Slakoff, Cramer & Associates Survey Report (Bertram
144-152)

338. Email exchange between Bertram and RINA (Bertram 1847-
1851) ((OBJECTION; The Plaintiff and Defendant MarineMax
reserve their right to objects based hearsay and late
production.)

339. Three photos of exemplar panel layup (Bertram 1918)

340. Photo C4039-003 from DRE Exemplar Vessel Testing dated
4/14/11

341. Photo C4039-055 from DRE Exemplar Vessel Inspection

dated 2/10/10

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342. Photo C4039-003 from DRE Exemplar Vessel Testing dated

4/14/11

343. Photo C4039-015 from DRE Factory lnspection dated
1/25/11

344. Photo C4039-017 from DRE Factory lnspection dated
1/25/11

345. Photos C4039-021,C4039-O60 and C4039-059 from DRE
Exemplar Vessel lnspection dated 2/10/10

346. Photo C4039-012 from DRE Exemplar Vessel lnspection
dated 2/10/10

347. Photos C4039-020 and C4039-058 from DRE Exemplar
Vessel lnspection dated 2/10/10

348. Photos C4039-028 and C4039-O57 from DRE Exemplar
Vessel lnspection dated 2/10/10

349. Photo C4039-028 from DRE Exemplar Vessel Testing dated
4/14/11

350. Photos C4039-027 and C4039-040 from DRE Exemplar
Vessel Testing dated 4/14/11

351. Photo C4039-022 from DRE Exemplar Vessel Testing dated
4/14/11

352. Photo C4039-017 from DRE Exemplar Vessel Testing dated
4/14/11

353. Photo C4039-131 from DRE Parts Inspection dated 3/7/11

354. Photo C4039-133 from DRE Parts lnspection dated 3/7/11

355. Photo C4039-134 from DRE Parts lnspection dated 3/7/11

356. Photo C4039-145 from DRE Parts lnspection dated 3/7/11

357. Photo C4039-175 from DRE Parts lnspection dated 3/7/11

358. Photo C4039-054 from DRE Factory lnspection dated
1/25/11

359. (for ID only)Photos of falling shipping containers

produced in “References” tab of DRE Documentation material
provided for Taylor deposition on 12/14/11

360. (for ID only)Photos of floating shipping containers
produced in “References” tab of DRE Documentation material
provided for Taylor deposition on 12/14/11

361. Videotape of April 14, 2011 Exemplar Testing
362-399 numbers unused

400. Photos - DHEVA dive SMITH Pix 2-12~10. DSCN 3030 through
DSCN 3171 (JS__000005)

401. Photos - DHEVA 8-15-11. IMG 1672 through IMG 1710
(JS_000004\DHEVA - 8-15~11\100___06)

402. Work Order 202747 - MM_000191-192)

403. Work order 202747 detail (MM_001694-1698)

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404. Work Order 217975 (MM 000198-200)

405. small string re wo# 268414 (Bertram_000337)
406. Fax re warranty claim and invoice (Bertram_000110-111)
407. Robert Schofield CV

408-500 numbers unused

501. Email concerning warranty card (MM_001582-6)(5pp)
502. (for lD only)Photo Boat under construction

503. John Smith photograph of hull to deck PICT0663
504. John Smith photograph of hull to deck PICT0664
505. John Smith photograph of hull to deck PICT0694
506. John Smith photograph of hull to deck PlCT0698
507. John Smith photograph of hull to deck PICT0699
508. John Smith photograph of hull to deck PICT0700
509. USCG documentation TROPICAT

510. June 25, 2010 photo DJ&A 171
511. June 25, 2010 photo DJ&A 177
512. June 25, 2010 photo DJ&A 185
513. June 25, 2010 photo DJ&A 189
514. June 25, 2010 photo DJ&A 191
515. June 25, 2010 photo DJ&A 192
516. June 25, 2010 photo DJ&A 198
517. June 25, 2010 photo DJ&A 202
518. June 25, 2010 photo DJ&A 203
519. June 25, 2010 photo DJ&A 206
520. June 25, 2010 photo DJ&A 218
521. June 25, 2010 photo DJ&A 226
522. June 25, 2010 photo DJ&A 231
523. June 25, 2010 photo DJ&A 237
524. Sea Trial photo DJ&A 318

525. Sea Trial photo DJ&A 327

526. Sea Trial photo DJ&A 334

527. Sea Trial photo DJ&A 336

528. (for ID only)Loss of Other Property

529. (for ID only)Environmental Mitigation Costs
530. Settlement Ocean Freight

531. Still Photo 11/29/09 IMAG 0980.JPG

(O) Attached to the pretrial brief should be counsel's request for
voir dire questions (see Local Civil §§1§_47.04) and request for jury
instructions. Copies of the requests for voir dire questions and jury
instructions shall be served on opposing counsel. If the requests for
voir dire and jury instructions are not submitted seven (7) days prior
to the selection of the jury, counsel shall be deemed to have waived
the right to submit voir dire questions and jury instructions, unless
made necessary by events at trial.

Not applicable.

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It is understood that absent order to the contrary, the information
required by Local Civil Rule 26.05(A)-(M) is for the sole use of the
Court and will not be furnished to opposing counsel without consent of
counsel. Therefore, these portions of the trial brief ((A)-(M)) are
not served absent order to the contrary, lnformation contained in (N)
and (O) shall be served on opposing parties.

Proposed. findings and conclusions should not be submitted. with the
pretrial brief unless requested by the Court.

RESPECTFULLY SUBMITTED:
JOHN HUGHES COOPER, P.C.

By: /s/John Hughes Cooper

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State Bar of Georgia 185986

JOHN TOWNSEND COOPER, ESQUIRE
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ATTORNEYS FOR PLAINTIFFS,
DHEVATARA BEACH SEYCHELLES, LTD.
And NEIL HELLIWELL

March 26, 2012
Mt. Pleasant, South Carolina

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